Case: 1:17-cv-02532 Document #: 1 Filed: 04/03/17 Page 1 of 12 PagelD #:1 Cnr

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

of
UNITED STATES DISTRICT COURT FJ L. E D

FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION APR ~8 2017

THOMAS G. BRUTO
al Wake Me ooD CLERK, US. DISTRICT CODAT

 

CIVIL ACTION

 

(Name of the plaintiff or plaintiffs)

1:17-cv-02532
Judge Matthew F. Kennelly
Magistrate Judge Susan E. Cox

 

 

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)
)
V. )
)
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)
)
)
)
)

(Name of the defendant or defendants)

COMPLAINT OF EMPLOYMENT DISCRIMINATION

 

1. This is an action for employment discrimination.

2. The plaintiff is C Yolo Mel Lal) of the

county of Ci Ty in the state of LL wo IS

3. The defendant is A Jerthea ster LL wie Virver sues , whose
street address is 55CO North St-Llours jue-

(ity)_ChgO (county) COOK —_(stawey) _{L, apGales

(Defendant’s telephone number) ( )-

 

 

 

 

4. The plaintiff sought employment or was employed by the defendant at (street address)

§ 500k. at hours (city) akgo
(county) Cool ss (state) LL. (ZIP code) GObag

(If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:17-cv-02532 Document #: 1 Filed: 04/03/17 Page 2 of 12 PagelD #:2

{If you need additional space for ANY section, please attach an additional sheet and reference that section.]

5. The plaintiff [check one box]

(aL_| was denied employment by the defendant.
|] was hired and is still employed by the defendant.

LL] was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) , (day) , (year)

 

7.1 (Choose paragraph 7.1 or 7.2, do not complete both.)

(a) The defendant is not a federal governmental agency, and the plaintiff [check

one box] Ls] has (4 filed a charge or charges against the defendant
has

asserting the acts of discrimination indicated in this complaint with any of the following

government agencies:

— (i) VA the United States Equal Employment Opportunity Commission, on or about
0
(month) (day) ee (year) 2O| bs

(i1) Be the Illinois Department of Human Rights, on or about

(month) (day) (year)

 

(b) If charges were filed with an agency indicated above, a copy of the charge is

attached. [A YES. [] NO, but plaintiff will file a copy of the charge within 14 days.

It is the policy of both the Equal Employment Opportunity Commission and the Illinois
Department of Human Rights to cross-file with the other agency all charges received. The

plaintiff has no reason to believe that this policy was not followed in this case.
7.2 The defendant is a federal governmental agency, and

(a) the plaintiff previously filed a Complaint of Employment Discrimination with the

defendant asserting the acts of discrimination indicated in this court complaint.

(If you need additional space for ANY section, please attach an additional sheet and reference that section.]
10.

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2;

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

o] Disability (Americans with Disabilities Act or Rehabilitation Act)

aL] National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
(|Z Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

aL] Religion (Title VII of the Civil Rights Act of 1964)

@L] Sex (Title VII of the Civil Rights Act of 1964)

If the defendant is a state, county, municipal (city, town or village) or other local
governmental agency, plaintiff further alleges discrimination on the basis of race, color,
or national origin (42 U.S.C. § 1983).

Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII
claims by 28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3); for

42 U.S.C.§1981 and §1983 by 42 U.S.C.§1988; for the A.D.E.A. by 42 U.S.C.§12117;
for the Rehabilitation Act, 29 U.S.C. § 791.

The defendant [check only those that apply)

(a)L_] failed to hire the plaintiff.

(b)L_] terminated the plaintiff's employment.

LL] failed to promote the plaintiff.

(a)L_| failed to reasonably accommodate the plaintiff's religion.
(JA failed to reasonably accommodate the plaintiff's disabilities.

lZ] failed to stop harassment;

LI retaliated against the plaintiff because the plaintiff did something to assert
rights protected by the laws identified in paragraphs 9 and 10 above;

(h) P] other (specify):

 

 

{If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:17-cv-02532 Document #: 1 Filed: 04/03/17 Page 4 of 12 PagelD #:4

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

LJ Yes (month) (day) (year)
LJ No, did not file Complaint of Employment Discrimination

(b) The plaintiff received a Final Agency Decision on (month)

(day) (year)
(c) Attached is a copy of the

(1) Complaint of Employment Discrimination,

LJ YES LJ NO, but a copy will be filed within 14 days.
(11) Final Agency Decision

LJ YES LC] NO, but a copy will be filed within 14 days.

(Complete paragraph 8 only if defendant is not a federal governmental agency.)

iia the United States Equal Employment Opportunity Commission has not issued
a Notice of Right to Sue.

(PA the United States Equal Employment Opportunity Commission has issued a

Notice of Right to Sue, which was received by the plaintiff on

(month) Je  - (day) _ a __(year)_ 2 ¢-.| 7 acopy of which

Notice is attached to this complaint.

The defendant discriminated against the plaintiff because of the plaintiff's [check only
those that apply|:

@*. Age (Age Discrimination Employment Act).

(b)L_] Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
iD.

14.

1D.

16.

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{If you need additional space for ANY section, please attach an additional sheet and reference that section.]

 

 

 

 

The facts supporting the plaintiff's claim of discrimination are as follows:

Sé2. i dical.o) Shoot

 

 

 

 

 

[AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully
discriminated against the plaintiff.

The plaintiff demands that the case be tried bya jury.[Z] yes [_] No

THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
[check only those that apply|

@L]
iL]
Cm
@L]
@L
oo]

Direct the defendant to hire the plaintiff.

Direct the defendant to re-employ the plaintiff.

Direct the defendant to promote the plaintiff.

Direct the defendant to reasonably accommodate the plaintiffs religion.
Direct the defendant to reasonably accommodate the plaintiff's disabilities.

Direct the defendant to (specify):

 

 

(If you need additional space for ANY section, please attach an additional sheet and reference that section.]
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Working for the College of Education was very difficult and stressful. Just as putting this

together is almost equally as stressful, to the point that it is difficult for me to put this together. I

Associate Dean Elliott Lessen, created an atmosphere that was very hostile, intimidating,
verbally abusive, and routinely included put downs and insults, to me and other minority

employees, and students.

Some examples, I have a Latino female friend who was recently fired from the College of
Education, Two minority co-workers, were taken from work by ambulance for stress related
incidents, there was spill over between coworkers whereas, one of my fellow co-workers
routinely threw me under the bus to alleviate the harassing pressure from him. He also called
campus police during a friendly conversation with me, which ended with me telling him he was
not my friend, his response was “get the hell out of office,” he also told the campus police he felt
threaten. During the summer of 2013, I would run in the early morning to help me feel better
about going to work, and dealing with such a hostile environment. This was a dark moment in
my life, but I always followed department protocol, and my evaluations reflected that I was a

competent advisor, even though my advising was always questioned.

There was an incident with Dr. Lessen where I asked him to okay a class for a student and he
publically became verbally abusive shouting “NO.” The student went to Dean Gillette a week
later and received approval for the course after complaining. I was called into a meeting and was
blind sided by a claim that I authorized a student who wasn’t in the program into clinicals. I

was belittled by Dr. Gillette and Dr. Lessen to the point that I was shaking when I left that
meeting. As a result it was revealed that their office made the mistake. I felt that, I was in a

_ situation where I could not comment on what was happening due to repercussions, and

retaliations. Other incidents include; not getting paid for overtime worked per our contract,

NO e/
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My job was considered a promotion going from the janitorial staff to educational advisor. Only

to find out later I should have received a ten percent increase for that promotion.

I have some health concerns, and I feel that the university did not reasonably accommodate me
over a seven year period regarding those concerns, and after being notified by two Physicians to
remove me from the advisors position due to anxiety, stress, and other health issues. One of my
doctors wanted to place me on antidepressant, which had some serious side effects associated
with its use, I instead opted to mediate, pray, and workout to help with stress. I was also told to
retake the test for the custodial position which I did multiple times, scoring in the nineties, only
to be told I needed to score 100%. I questioned this because I felt they should transfer me back
without the test. After calling Springfield in 2011, and talking to Jeffrey Brownfield, he stated I
could do a voluntary demotion. I passed this information along to human resources and was told
that was impossible, I suggested they call Springfield for verification and they refused to do so
several times (2015). Even though I anked to be moved from the advisors position they used that
to bend the rules and eliminated my position, but they kept my white coworker in his position. It
seemed as though they were trying to make me feel uncomfortable, so I would quit. It took them

seven years to move me, and that was due to budget cuts.2
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{If you need additional space for ANY section, please attach an additional sheet and reference that section.]

 

 

 

 

@lA If available, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable
attorney fees and expert witness fees.

ml Grant such other relief as the Court may find appropriate.

(Plaintiff's signature)

(ble McA seca
(Plaintiff's name)

Clyde Meleals

(Plaintiff's street address)

3408 Ww. Fostey Pap

 

 

—
(City) Chg) (state) JL cp) ZOCRS

(Plaintiffs telephone number) (27) — ABI4ESS

Date: a als

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
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EEOC Form 5 (11/09)

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [es] FEPA
Statement and other information before completing this form.
[X] EEoc

440-2016-01216

 

 

Illinois Department Of Human Rights and EEOC

State or local Agency, if any

 

 

Name (indicate Mr., Ms., Mrs.) Home Phone (/nc/. Area Code) Date of Birth

Clyde McLeod (309) 287-4555 03-10-1952

 

 

 

Street Address City, State and ZIP Code

3408 W. Foster Ave., Apt. 2-B, Chicago, IL 60625

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Members Phone No. (Include Area Code)
NORTHEASTERN ILLINOIS UNIVERSITY 500 or More (773) 583-4050
Street Address City, State and ZIP Code

5500 N St Louis, Chicago, IL 60625

 

 

 

 

 

Name No. Employees, Members Phone No. (Include Area Code)
Street Address City, State and ZIP Code
ISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

RACE ee COLOR leat SEX [| RELIGION Dd NATIONAL ORIGIN 08-22-2015
pee RETALIATION AGE [ x] DISABILITY ol GENETIC INFORMATION

OTHER (Specify) a CONTINUING ACTION

 

 

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
| was hired by Respondent in or around September 2001. My most recent position is Janitor.
Respondent is aware of my disability. During my employment, | requested but was not granted
reasonable accommodations. | have been harassed and demoted. FEB 0 8 2016
fe a O CUIV

| believe | have been discriminated against because of my disability, in violation of the Americans
with Disabilities Act of 1990, as amended.

| believe | have been discriminated against because of my age, 63 (date of birth: March 10, 1952), in
violation of the Age Discrimination in Employment Act of 1967, as amended.

| believe | have been discriminated against because of my race, Black, in violation of Title VII of the
Civil Rights Act of 1964, as amended.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

proceddins. | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

*

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year)

  

Ee

Feb 08, 2016

Date

 

Charging Party Signature

 

 

 

 
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Chicago District Office
500 West Madison Street, Suite 2000
Chicago, IL 60661
PH: (312) 869-8000
TTY: (312) 869-8001

 

FILE REVIEWS FAX: (312) 869-8220 ENFORCEMENT FAX: (312) 869-8220
MEDIATION: (312) 869-8060 STATE & LOCAL FAX: (312) 869-8077
HEARINGS FAX: (312) 869-8125 LEGAL FAX: (312) 869-8124

NOTICE OF DISCLOSURE RIGHTS

Parties to an EEOC charge are entitled to review and obtain copies of documents contained in their
investigative file. Requests must be made in writing to Sylvia Bustos and either mailed to the address
above, faxed to (312) 869-8220 or sent via email to sylvia.bustos@eeoc. gov (please chose only one
method, no duplicate requests). Be sure to include your name, address, phone number and EEOC
charge number with your request.

If you are the Charging Party and a RIGHT TO SUE has been issued, you may be granted access to your
file:

Before filing a lawsuit, but within 90 days of your receipt of the Right to Sue, or

FG After your lawsuit has been filed. If more than 90 days have elapsed since your receipt of
the Right to Sue, include with your request a copy of the entire court complaint (with court
stamped docket number) or enough pages to determine whether it was filed based on the
EEOC charge.

If you are the Respondent you may be granted access to the file only after a lawsuit has been filed.
Include with your request a copy of the entire court complaint that includes an official court stamped

docket number.

Pursuant to federal statutes, certain documents, such as those which reflect the agency’s deliberative
process, will not be disclosed to either party.

You must sign an Agreement of Nondisclosure before you are granted access to the file, which will be
sent to you after receipt of your written request. (Statutes enforced by the EEOC prohibit the agency
from making investigative information public.)

The process for access to the file will begin no later than ten (10) days following receipt of your request.

When the file becomes available for review, you will be contacted. You may review the file in our
offices and/or request that a copy of the file be sent to you. Files may not be removed from the office.

Your file will be copied by Aloha Print Group, 60 East Van Buren, Suite 1502, Chicago, IL 60605,
(312) 542-1300. You are responsible for the copying costs and must sign an agreement to pay these
costs before the file will be sent to the copy service. Therefore, it is recommended that you first review
your file to determine what documents, if any, you want copied. EEOC will not review your file or
provide a count of the pages contained in it. If you choose not to review your file, it will be sent in its
entirety to the copy service, and you will be responsible for the cost. Payment must be made directly
to Aloha Print Group, which charges 15 cents per page.

(Revised 04/20/2016, previous copies obsolete)

 

 

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EEOC Form 5 (11/09)

 

 

* CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [] FEPA
Statement and other information before completing this form.
EEOC 440-2016-01216

 

 

Illinois Department Of Human Rights and EEOC

 

3 State or local Agency, if any
ame (indicate Mr., Ms., Mrs.) Home Phone (Inc/. Area Code) Date of Birth

Clyde McLeod (309) 287-4555 03-10-1952

 

 

 

Street Address City, State and ZIP Code

3408 W. Foster Ave., Apt. 2-B, Chicago, IL 60625

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discrimindted Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

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Street Address City, State and ZIP Code

5500 N St Louis, Chicago, IL 60625 RECEIVED EEQc

MAcs

 

 

 

 

 

Name No. Employees, , Mathbedk 209% No. (Include Area Code)
Street Address \ City, State and ZIP Code "ay STRICT Og
DISCRIMINATION EASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest
| X | RACE | | COLOR ree SEX | RELIGION | | NATIONAL ORIGIN 08-22-2015
ee RETALIATION [x] AGE Lx] oo DISABILITY | GENETIC INFORMATION
® [| oTHER (Specify) ce bp hd at bes shea) “CONTINUING ACTION

 

 

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
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| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements

will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

procedures. | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

 

Date T Charging Party Scie.

 

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Feb 08, 2016 cy (month, day, year)

 

 

 
Sf Case: 1:17-cv-02532 Document #: 1 Filed: 04/03/17 Page 12 of 12 PagelD #:12

 

 

 

EEOC feat 161 (11/18) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
DISMISSAL AND NOTICE OF RIGHTS

To: Clyde McLeod From: Chicago District Office

3408 W. Foster Ave., Apt. 2-B , 500 West Madison St

Chicago, IL 60625 Suite 2000

e | Chicago, IL 60661
[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

EEOC Charge No. EEQC Representative Telephone No.

Grace Swierczek,
440-2016-01216 Investigator (312) 869-8144
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge
The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the

information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

A Oa

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

ee

Other (briefly state)

 

 

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- NOTICE OF SUIT RIGHTS =~ ae

(See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)

before you file suit may not be coilectible.
On behalf of the Commission //.
HEE (ip eres 5 CaS ue

Enclosures(s) Julianne Bowman, (Date Mailed)
District Director

cc:

Melissa Reardon Henry, Esq.

General Counsel

BOARD OF TRUSTEES OF NORTHEASTERN
ILLINOIS UNIVERSITY

Office of the President

5500 N. St. Louis Avenue

e Chicago, IL 60625

 

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